Case 2:22-cv-07775-JWH-KES    Document 280   Filed 09/08/23   Page 1 of 5 Page ID
                                   #:3774


 1 Christina N. Goodrich (SBN 261722)
   christina.goodrich@klgates.com
 2 Cassidy T. Young (SBN 342891)
   Cassidy.young@klgates.com
 3 K&L Gates LLP
   10100 Santa Monica Boulevard
 4 Eighth Floor
   Los Angeles, California 90067
 5 Telephone: +1 310 552 5000
   Facsimile: +1 310 552 5001
 6
   [Additional counsel on signature page]
 7
   ATTORNEYS FOR PLAINTIFF
 8 ENTROPIC COMMUNICATIONS, LLC
 9
                         UNITED STATES DISTRICT COURT
10
                       CENTRAL DISTRICT OF CALIFORNIA
11
12 ENTROPIC COMMUNICATIONS, LLC, Case No. 2:22-cv-07775-JWH-KES
                                 (Lead Case)
13             Plaintiff,
                                 Case No. 2:22-cv-07959-JWH-KES
14 vs.                           (Member Case)
15 DIRECTV, LLC, et al.,
                                             [Assigned to the Honorable John W.
16                    Defendants.            Holcomb]
17
                                             PLAINTIFF’S AMENDED NOTICE
18                                           OF INTERESTED PARTIES (LOCAL
                                             RULE 7.1-1)
19
20 ENTROPIC COMMUNICATIONS, LLC,
21             Plaintiff,

22 vs.
23 DISH
   al.,
        NETWORK CORPORATION, et

24              Defendants.
25
26
27
28

      PLAINTIFF’S AMENDED NOTICE OF INTERESTED PARTIES (LOCAL
                            RULE 7.1-1)
Case 2:22-cv-07775-JWH-KES         Document 280    Filed 09/08/23      Page 2 of 5 Page ID
                                        #:3775


 1            TO THE COURT, ALL PARTIES, AND THEIR ATTORNEYS OF
 2 RECORD:
 3            Pursuant to Local Rule 7.1-1, the undersigned, counsel of record for Plaintiff
 4 Entropic Communications, LLC (“Plaintiff”), certifies that the following listed party
 5 (or parties) may have a pecuniary interest in the outcome of this case. These
 6 representations are made to enable the Court to evaluate possible disqualification or
 7 recusal. 1
 8       Entropic Communications LLC               Plaintiff; wholly owned subsidiary of
 9                                                 Entropic Holdings LLC.
10       Entropic Holdings LLC                     Entropic Holdings LLC is a privately
11                                                 held limited liability company with an
12                                                 interest in the outcome of the action.
13       FIG LLC (d/b/a Fortress Investment        FIG LLC (d/b/a Fortress Investment
14       Group)                                    Group)     and/or     its   wholly-owned
15                                                 subsidiaries are investment advisors to
16                                                 private investment funds that own
17                                                 Entropic Holdings LLC, and may have
18                                                 an interest in the outcome of the action.
19       MaxLinear, Inc.                           MaxLinear, Inc. is the prior assignee of
20                                                 one or more of the patents in suit, and
21                                                 has an interest in the outcome of the
22                                                 action.
23       MaxLinear Communications LLC              MaxLinear Communications LLC is the
24                                                 prior assignee of one or more of the
25                                                 patents in suit, and has an interest in the
26                                                 outcome of the action.
27
    These representations are being made solely for purposes of recusal or disqualification
     1

28 and are not a waiver of any applicable privilege or protection.
                                              2
     PLAINTIFF’S UPDATED NOTICE OF INTERESTED PARTIES (LOCAL
                                       RULE 7.1-1)
Case 2:22-cv-07775-JWH-KES       Document 280      Filed 09/08/23   Page 3 of 5 Page ID
                                      #:3776


 1         Pursuant to the Court’s Order of August 28, 2023 (ECF No. 278), requiring that
 2 Plaintiff file an updated Notice of Interested Parties identifying any investment fund
 3 or individual investor that owns more than 10% of Entropic Holdings LLC, Plaintiff
 4 discloses the following additional lists of entities.
 5         For purposes of Section IV.2.a. of the Court’s Order, Plaintiff discloses the
 6 following:
 7   FIP UST LP                                 FIP UST LP is an investment fund
 8                                              entity, which directly owns 50% of
 9                                              Entropic Holdings LLC.
10   Fortress Intellectual Property             Fortress Intellectual Property
11   Opportunities Fund I (A) LP                Opportunities Fund I (A) LP is an
12                                              investment fund entity, which
13                                              indirectly owns approximately 19% of
14                                              Entropic Holdings LLC.
15   Fortress Intellectual Property             Fortress Intellectual Property
16   Opportunities Fund I (B) L.P.              Opportunities Fund I (B) L.P. is an
17                                              investment fund entity, which
18                                              indirectly owns approximately 13% of
19                                              Entropic Holdings LLC.
20   Fortress Intellectual Property             Fortress Intellectual Property
21   Opportunities I Fund (C) L.P.              Opportunities Fund I (C) L.P. is an
22                                              investment fund entity, which
23                                              indirectly owns approximately 18% of
24                                              Entropic Holdings LLC.
25   FCOF V UST LLC                             FCOF V UST LLC is an investment
26                                              fund entity, which directly owns
27
28
                                  3
       PLAINTIFF’S UPDATED NOTICE OF INTERESTED PARTIES (LOCAL
                              RULE 7.1-1)
Case 2:22-cv-07775-JWH-KES        Document 280     Filed 09/08/23   Page 4 of 5 Page ID
                                       #:3777


 1
                                                 approximately 33% of Entropic
 2
                                                 Holdings LLC.
 3
     Fortress Credit Opportunities Fund (A)      Fortress Credit Opportunities Fund (A)
 4
     L.P.                                        L.P. is an investment fund entity,
 5
                                                 which indirectly owns approximately
 6
                                                 11% of Entropic Holdings LLC.
 7
     Fortress Credit Opportunities Fund (G)      Fortress Credit Opportunities Fund (G)
 8
     L.P.                                        L.P. is an investment fund entity,
 9
                                                 which indirectly owns approximately
10
                                                 16% of Entropic Holdings LLC.
11
            For purposes of Section IV.2.b. of the Court’s Order, Plaintiff discloses the
12
     following:
13
     L3 Investment Holdings LP                   L3 Investment Holdings LP is an
14
                                                 investor entity, which indirectly owns
15
                                                 approximately 11% of Entropic
16
                                                 Holdings LLC.
17
18
19
     Dated: September 8, 2023                      By: /s/ Christina N. Goodrich
20                                                 Christina N. Goodrich (SBN 261722)
21                                                 Cassidy T. Young (SBN 342891)
                                                   K&L GATES LLP
22                                                 10100 Santa Monica Blvd., 8th Fl.
23                                                 Los Angeles, CA 90067
                                                   Tel: (310) 552-5547
24                                                 Fax: (310) 552-5001
25                                                 christina.goodrich@klgates.com
                                                   cassidy.young@klgates.com
26
                                                   James Shimota
27                                                 (admitted pro hac vice)
28                                                 Jason Engel
                                  4
       PLAINTIFF’S UPDATED NOTICE OF INTERESTED PARTIES (LOCAL
                              RULE 7.1-1)
Case 2:22-cv-07775-JWH-KES   Document 280   Filed 09/08/23   Page 5 of 5 Page ID
                                  #:3778


 1                                          (admitted pro hac vice)
 2                                          George Summerfield
                                            (admitted pro hac vice)
 3                                          Katherine L. Allor
 4                                          (admitted pro hac vice)
                                            K&L GATES LLP
 5                                          70 W. Madison Street, Suite 3300
 6                                          Chicago, IL 60602
                                            Tel.: (312) 372-1121
 7                                          Fax: (312) 827-8000
 8                                          jim.shimota@klgates.com
                                            jason.engel@klgates.com
 9                                          george.summerfield@klgates.com
10                                          katy.allor@klgates.com
11                                          Nicholas F. Lenning
                                            (admitted pro hac vice)
12
                                            K&L GATES LLP
13                                          925 Fourth Avenue, Suite 2900
                                            Seattle, WA 98104
14
                                            (206) 623-7580
15                                          (206) 370-6006 (fax)
                                            nicholas.lenning@klgates.com
16
17                                          Darlene F. Ghavimi (admitted pro hac
                                            vice)
18                                          Matthew Blair (admitted pro hac vice)
19                                          K&L GATES LLP
                                            2801 Via Fortuna, Suite #650
20                                          Austin, TX 78746
21                                          (512) 482-6919
                                            (512) 482-6859
22                                          darlene.ghavimi@klgates.com
23                                          matthew.blair@klgates.com
24                                          ATTORNEYS FOR PLAINTIFF
                                            ENTROPIC COMMUNICATIONS,
25                                          LLC
26
27
28
                                 5
      PLAINTIFF’S UPDATED NOTICE OF INTERESTED PARTIES (LOCAL
                             RULE 7.1-1)
